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                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF NEW JERSEY


 In re:                                               Hon. Michael B. Kaplan

 Princeton Alternative Income Fund, LP, et al.,       Lead Case No. 18-14603 (MBK)
                                                      (Jointly Administered)

                Debtors-In-Possession.                Chapter 11

                                                      Hearing Date: October 22, 2018 at 11:00 a.m.


  REPLY IN SUPPORT OF MOTION FOR RELIEF FROM THE AUTOMATIC STAY



          Ranger Specialty Income Fund, LP, (“Ranger Domestic”) Ranger Direct Lending Fund

 Trust (“Ranger Offshore”), and Ranger Alternative Management II, LP (“Ranger Management

 and collectively with Ranger Domestic and Ranger Offshore, “Ranger”), by and through their

 undersigned counsel, respectfully file this reply to Debtors’ Opposition to Motion for Relief

 From the Automatic Stay (“Debtors’ Response”)(Dkt. No. 349) and in support of Ranger’s

 Motion (the ”Motion”)(Dkt. No. 334) for an order granting relief from the automatic stay under

 Section 362(d) of the United States Bankruptcy Code (the “Bankruptcy Code”), for cause, to

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 allow Ranger to pursue claims against the Feeder Fund1, including but not limited to injunctive

 relief, such actions and relief being heretofore barred by the application automatic stay pursuant

 to a prior Order of this Court under the principles articulated in McCartney v Integra National

 Bank North, 106 F.3d 506 (3d. Cir. 1997). In reply to Debtors Response and in support of the

 Motion, Ranger respectfully states as follows:

 I.     LEGAL ARGUMENT

        A.      CAUSE EXISTS FOR RELIEF FROM THE AUTOMATIC STAY

                1.     The Arbitration Award determined that Debtors and the Feeder Fund

  breached their respective contractual obligations to Ranger and also respectively breached their

  fiduciary duties to Ranger in numerous ways, including the failure to honor Ranger’s

  redemption demands in November 2016, resulting in monetary damages.

                2.     In the Feeder Fund Stay Relief Order, this Court held that the automatic

  stay barred Ranger Offshore from seeking injunctive relief in the Arbitration in the form of an

  in-kind distribution of the limited partnership interests in PAIF held by the Feeder Fund, which

  the Feeder Fund acquired with Ranger Offshore’s investment funds and held for Ranger

  Offshore’s benefit. This Court expressly based that decision on a finding of “unusual

  circumstances” in which there exists an identity of interests between a debtor defendant and a

  non-debtor defendant, as articulated in the case of McCartney v. Integra National Bank North,

  106 F.3d 506, 509 (3d. Cir. 1997).

                3.     In the Feeder Fund Stay Relief Order the Court expressly adopted the

  rationale expressed in McCartney. In McCartney, the Third Circuit extended the protection of



 1 Capitalized terms used herein not otherwise defined are used as defined in the Motion, which
 also incorporates terms as defined in the Common Statement of Facts filed by Ranger (“CSF”)
 [Dkt. No. 39] and incorporated herein by reference

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 the automatic stay to non-debtor party defendants in “unusual circumstances” where “there is

 such identity between the debtor and the third-party defendant that the debtor may be said to be

 the real party defendant and that a judgment against the third-party defendant will in effect be a

 judgment or finding against the debtor”. Id. at 510, quoting A.H. Robbins Co., Inc. v Piccinin,

 788 f.2d 994,999 (4th Cir.), cert denied, 479 U.S. 876 (1986).

                 4.     As set forth in the Motion, given the binding adjudication in the

 Arbitration Award that the Feeder Fund is independently liable to Ranger based on its own

 breach of contract and breach of fiduciary duty, the rationale of McCartney can no longer be

 applied.

                 5.     Relief from the automatic stay is required to allow Ranger Offshore to

 seek an order from the Arbitration Panel requiring an in-kind distribution to Ranger Offshore.

 Such relief is absolutely essential to avoid a manifest injustice to Ranger Offshore and a gross

 manipulation of the bankruptcy process by Debtors and the Feeder Fund.

                 6.     Debtor’s Response makes a number of points which can be addressed

 briefly in reply:

                 The Motion is not a repetition of Ranger’s prior motion seeking a determination

                  regarding the application of the automatic stay to the Feeder Fund. That

                  determination was requested and ruled upon by the Court. The pending Motion

                  seeks relief from the automatic stay which was made applicable to the Feeder

                  Fund by the Court’s prior decision.

                 Debtors repeat the canard that unspecified tax consequences will flow from an

                  in-kind distribution from Princeton Offshore to Ranger Offshore. Debtors offer

                  no legal explanation for this assertion because none exists. Ranger has



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              determined that no adverse tax consequences will result from such a distribution.

              Debtors’ assertion to the contrary is a bald and baseless allegation without

              support.

             Debtors and the Feeder Fund area subject to the Arbitration Award. As to the

              Debtors, collateral estoppel applies. As to the Feeder Fund, it is not a debtor in

              this case and there is no need to invoke any preclusion doctrine. The Feeder

              Fund is directly liable to Ranger, but absent stay relief (or the administration of

              Ranger’s claims against the Feeder Fund in the Bankruptcy Cases) Ranger is left

              without a remedy as to that direct liability. That is exactly the result the Debtors

              seek.

             Debtors decry the fact that granting stay relief will allow Ranger Offshore to

              pursue remedies against the Feeder Fund which will impact the Bankruptcy

              Cases. Of course, this argument highlights the disingenuous self-contradictory

              position taken by Debtors that while the Feeder Fund is a single enterprise with

              the Debtors for purposes of gaining and retaining the protection of the automatic

              stay, it is transformed into a totally separate enterprise for purposes of

              administering claims against it in the Bankruptcy Cases.

             Debtors are correct that granting stay relief to Ranger Offshore will allow Ranger

              Offshore to seek an order from the Arbitration Panel requiring the Feeder Fund

              to make an in-kind distribution to Ranger Offshore of the limited partnership

              interests in PAIF obtained with Ranger Offshore’s funds and presently held by

              the Feeder Fund for the benefit of Ranger Offshore.




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                Debtors are also correct that if this occurs, then the Feeder Fund can no longer

                 deploy those limited partnership interests in PAIF to benefit its MicroBilt

                 managers rather than to benefit Ranger Offshore, the party to whom its owes a

                 fiduciary duty and as to which duty it is in adjudicated breach.

                Debtors are also correct that if stay relief is granted to Ranger Offshore, the

                 Debtors and the Feeder Fund could no longer manipulate the bankruptcy process

                 to block Ranger Offshore from any remedy for the Feeder Fund’s adjudicated

                 breaches of contract and fiduciary duty, which would thwart the use of the

                 Bankruptcy Cases for the sole benefit non-debtor insiders.

                Debtor is correct on all these points. What is incredible is that Debtors actually

                 argue that this Court should aid them in this blatant manipulation of the

                 bankruptcy process to further harm parties to whom fiduciary duties are owed

                 and have been breached so that non-debtor insiders can continue to profit.

 II.    CONCLUSION

        As requested in the Motion, to the extent the Court rules that the claims and interests of

 Ranger Offshore against the Feeder Fund cannot be asserted directly as claims and interests

 against PAIF in the Bankruptcy Cases but rather must be asserted directly against the Feeder

 Fund, then Ranger respectfully requests that the Court issue an order granting Ranger relief from

 the automatic stay for cause under § 362(d) of the Bankruptcy Code (i) allowing Ranger to

 pursue any and all claims in the Arbitration, or otherwise, against the Feeder Fund and/or the

 assets of the Feeder Fund, including injunctive relief and confirmation and enforcement of the

 existing Arbitration Award against the Feeder Fund, and (ii) waiving the 14 day period under




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 Fed.R.Bankr. P. 4001(a)(3) for cause and: (iii) granting such further and other relief as the Court

 deems just and equitable.

 Dated: October 18, 2018                      Respectfully submitted,


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